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                                  District Judge Daybook Entry

      United States District Court - Southern District of West Virginia at Huntington
 Date:                   4/24/2023                                 Case Number:            3:23-cv-00058

 Case Style:             GenBioPro, Inc. vs. Sorsaia

 Type of hearing:        Motion Hearing

 Before the Honorable:   2514-Chambers

 Court Reporter:         Catherine Schutte-Stant                   Courtroom Deputy:       Terry Justice

 Attorney(s) for the Plaintiff or Government:

 Anthony Majestro, David Frederick

 Attorney(s) for the Defendant(s):

 Jennifer Karr, Curtis Capehart

 Law Clerk:              Mary Offutt-Reagin

 Probation Officer:


                                                         Court Times

Start Time                   End Time                    Court Time Description

2:00 PM                      2:55 PM                     Non-Trial Time/Uncontested Time


Time in court: 0 hours and 55 minutes. Non-Trial Time/Uncontested Time


                                                       Courtroom Notes
Hearing scheduled to commence: 2:00 p.m.
Hearing commenced: 2:00 p.m.

Rule 12(B)(1) and 12(B)(6) Motion of Defendant Mark Sorsaia to Dismiss. ECF No. 17.
Motion of Defendant Patrick Morrisey to Dismiss. ECF No. 19.

Hearing concerning the issue of standing.
Matters taken under advisement.

Hearing concluded: 2:55 p.m.
